                    EXHIBIT A




Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 1 of 6
                                          Yolanda Irving              November 14, 2022
                              Irving, Yolandav. The City Of Raleigh

                                                                        Page 1

1                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
2                                  WESTERN DIVISION
3                             Case No. 5:22-CV-00068-BO
4
5
               YOLANDA IRVING, et al.,                     )
6                                                          )
                                  Plaintiffs,              )
7                                                          )
                         V.                                )
8                                                          )
               THE CITY OF RALEIGH, et                     )
9              al.,                                        )
                                                           )
10                         Defendants.                     )
               __________________________                  )
11
12
13
14                                      VIDEOTAPED DEPOSITION
                                                 OF
15                                         YOLANDA IRVING
16
                                          NOVEMBER 14, 2022
17                                     10:17 A.M. - 5:27 P.M.
18
19                                   TIN FULTON WALKER & OWEN
                                      407 North Person Street
20                                    Raleigh, North Carolina
21
22
23
24         Reported by: Michelle Maar, RDR, RMR, FCRR
25

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         Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 2 of 6
                                          Yolanda Irving              November 14, 2022
                              Irving, Yolandav. The City Of Raleigh

                                                                         Page 115

1          officer was aiming a gun at you?

2               A.     No.

3               Q.     Was it one officer or more than one aiming a gun

4          at you?

5               A.     It was one.      And I guess after he got me down, he

6          got, he told me to get down, that's when the rest of them

7          started coming up.       So I'm guessing they was behind him.

8               Q.     So one officer aimed a gun at you?

9               A.     Yes.

10              Q.     And what part of your body was it aimed on, do

11         you know?

12              A.     No.     It wasn't -- he was telling me to get down.

13         So it was just in the area where I was at until I got down.

14                     And then that's when he decided to bring the rest

15         of them up.       So he was, I guess he was in control.

16              Q.     But do you know -- sorry if I may have

17         misunderstood -- do you know what part of your body you

18         believe this officer was aiming a gun at?

19              A.     No.

20              Q.     But you're certain he was aiming a gun --

21              A.     Oh, yeah, I'm certain.          I looked at it.

22              Q.     And for how long?

23              A.     For, for, until I got down on the ground.

24              Q.     So a couple seconds?

25              A.     Couple seconds.

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         Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 3 of 6
                                         Yolanda Irving                November 14, 2022
                             Irving, Yolandav. The City Of Raleigh

                                                                        Page 116

1               Q.    And then when you got on the ground, the officer

2          was no longer aiming a gun at you?

3               A.    They was, they still had their guns out.             But it

4          wasn't like -- I guess they was trying to get everybody

5          under control until they put their guns completely down.

6                     So I do remember two went into the room with my

7          boys, one was on the outside of my daughter's room, and I

8          do believe another one was in my room, and then there was

9          one in the hall watching me.

10                    So it took a minute for them to put the guns

11         down, but they did finally put them down.

12              Q.    But in terms of a weapon being aimed at you, your

13         testimony is that that occurred for a few seconds until you

14         got on the ground.      Is that true?

15              A.    Yes.

16              Q.    And do you have any memory of whether or not guns

17         were aimed at anyone else upstairs?

18              A.    Not to my knowledge.

19              Q.    Did any officer aim a gun at you at any other

20         point during this encounter other than the example you just

21         gave me?

22              A.    I can't recall.        I know that one of them did get

23         angry with me because I, again, terrified, I guess I must

24         have misunderstood what he had said, thinking he was

25         telling me to move over, and I stood up.              And he told me I

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         Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 4 of 6
                                         Yolanda Irving               November 14, 2022
                             Irving, Yolandav. The City Of Raleigh

                                                                       Page 117

1          needed to sit down.       So --

2               Q.    Right.     But in terms of a gun being aimed at

3          you --

4               A.    Like I said, I can't recall.

5               Q.    -- the only one that, the only time you remember

6          is in a few seconds before you got on the ground?

7               A.    Yes.     From what I recall, yes.

8               Q.    And the officer told you to get on the ground.

9          Is that right?

10              A.    Yes.

11              Q.    And did you comply?

12              A.    Absolutely.

13              Q.    Who was upstairs in the apartment when you first

14         saw Raleigh police officers in the hallway upstairs?

15              A.    My daughter, our two dogs.            And like I said, J.I.

16         ran upstairs.     But before J.I., it was just my daughter,

17         Juwan, and me, and the dogs.

18              Q.    And did you see any encounter between any

19         officers and your daughter Cydneea?

20              A.    No.

21              Q.    Did you see any encounter between the officers

22         and your son Juwan?

23              A.    Yes.

24              Q.    What did you see?

25              A.    Well, like I said, two police officers had walked

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         Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 5 of 6
                                         Yolanda Irving              November 14, 2022
                             Irving, Yolandav. The City Of Raleigh

                                                                      Page 118

1          in there.    And they was telling him to get down.

2                      And I told them that he couldn't get down because

3          he was paralyzed.      And that's when he lifted up his pants

4          leg.    They was like that's fine, he can sit right there.

5          They made J.I. get up, sit beside him.

6                      And they told them that they could continue to

7          play the game -- which one of the police officers ended up

8          talking to both of my boys and was telling them his handler

9          on Modern Warfare, some kind of gun thing that was on the

10         Xbox or the PlayStation.

11                     So that was -- they was in there.

12                Q.   And did you see any officer aim a gun at either

13         J.I. or Juwan?

14                A.   No.

15                Q.   And did you see any officer aim a gun at Cydneea?

16                A.   No.

17                Q.   At any point during that encounter, did you see

18         officers aim guns at your children?

19                A.   Not at that -- no.

20                Q.   After you got onto the ground, I understand that

21         the officer that you believe was aiming a gun at you was no

22         longer aiming it at you, true?

23                A.   True.

24                Q.   What happened, what do you recall happening

25         upstairs in your encounter with the officers after you got

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         Case 5:22-cv-00068-BO Document 145-1 Filed 12/06/22 Page 6 of 6
